
By order of March 8, 2016, the application for leave to appeal the April 3, 2015 order of the Court of Appeals was held in abeyance pending the decision in People v. Temelkoski (Docket No. 150643). On order of the Court, the case having been decided on January 24, 2018, 501 Mich. 960, 905 N.W.2d 593 (2018), the application is again considered and, it appearing to this Court that the cases of People v. Tucker (Docket No. 152798) and People v. Snyder (Docket No. 153696) are pending on appeal before *466this Court and that the decisions in those cases may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decisions in those cases.
Wilder, J., did not participate because he was on the Court of Appeals panel.
